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                            UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF GEORGIA
                                  ATLANTA DIVISION


 NORMA ROBINSON, et al,
                         Plaintiffs                  CIVIL ACTION FILE
 vs.                                                 NO. 1:14-cv-1467-LMM
 TOMY GROUP ATLANTA, LLC, et al,
                      Defendants


                                       JUDGMENT

       This action having come before the court, Leigh Martin May, United States
District Judge, for consideration, it is
       Ordered and Adjudged that the action be DISMISSED for want of prosecution
and failure to comply with a court order.


       Dated at Atlanta, Georgia this 27th day of October, 2016.

                                                JAMES N. HATTEN
                                                CLERK OF COURT


                                            By: s/ Harry F. Martin
                                                Deputy Clerk

Prepared, filed, and entered
in the Clerk's Office
    October 27, 2016
James N. Hatten
Clerk of Court


By: s/ Harry F. Martin
       Deputy Clerk
